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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                              for the
                                                      District of Delaware

                  United States of America                       )
                               V.

             JOEL RODRIGUEZ MARTINEZ
                                                                 )
                                                                 ~      CaseNo.
                                                                                  19
                                                                                       _   V§M                       Ul
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                                                                 )
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                                                                                                                     r::i
                                                                 )
                          Defendant(s)


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _ _ _ _ _J_u~ly_5_,_2_0_1_9_ _ _ _ _ in the county of _ _ _ _N_e_w_C_a_st_le_ _ _ _ in the
                       District of _ _ _D_e_la_w_a_re_ _ _ , the defendant(s) violated:

            Code Section                                                 Offense Description
8 U.S.C. § 1326(a)                            Illegal Reentry of Previously Removed Alien




         This criminal complaint is based on these facts:

See the attached Affidavit.




         !if" Continued on the attached sheet.




                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date:             07/15/2019


City and state:                     Wilmington, Delaware
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA                               )
                                                       )
               V.                                      )       CRIM. ACT. NO. 19 -- - - -
                                                       )
JOEL RODRIGUEZ MARTINEZ,                               )
                                                       )
                                                       )
                       Defendant.                      )



                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


        Your affiant, John Hanlon, being duly sworn, does depose and say:

        1. I am a Deportation Officer with the Department of Immigration & Customs Enforcement

("ICE"), a branch of the United States Department of Homeland Security ("DHS"), at the ICE office

located in Dover, Delaware. I have been employed by Immigration and Customs Enforcement since

January 2, 2007.

       2. This investigation is based upon information provided in DHS/ICE records, National

Crime Information Center ("NCIC") records, Federal Bureau of Investigation ("FBI") records, and

by my own observations, interviews, training and experience. Since this affidavit is only for

purposes of establishing probable cause for an arrest pursuant to Title 8, United States Code,

Sections 1326(a), not all facts related to this investigation are contained herein.

       3. On or about July 11, 2019, the Delaware State Police in Wilmington, Delaware notified

the ICE Dover office that a possible illegal alien was in their custody. ICE database and NCIC

record checks were conducted that indicated that the subject, Joel RODRIGUEZ MARTINEZ, was

a possible illegal ·alien from Mexico.
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       4.   On July 11, 2019, Deportation Officers obtained the fingerprints of RODRIGUEZ

MARTINEZ at the ICE office in Dover, Delaware. Officers queried the subject's fingerprints in

ICE' s automated database. The results of that query showed that these fingerprints matched Alien

#XXXXXX226.        Officers also searched RODRIGUEZ MARTINEZ's fingerprints in the FBI

database. These fingerprints matched FBI # XXXXXJD4.

       5. No post-arrest statements were made in this investigation.

       6. Your affiant has reviewed DHS/ICE alien database records and RODRIGUEZ

MARTINEZ's alien file (XXXXXX226), which reflect the following:

       a. RODRIGUEZ MARTINEZ was born in Mexico.

       b. Immigration Officers encountered RODRIGUEZ MARTINEZ on or about August 12,

2010 in an Arkansas jail after he entered the United States without admission, inspection or parole.

RODRIGUEZ MARTINEZ was issued a Notice to Appear before an Immigration Judge. On

October 12, 2010, an Immigration Judge in Oakdale, Louisiana ordered RODRIGUEZ

MARTINEZ removed to Mexico. On October 21, 2010, RODRIGUEZ MARTINEZ was

physically removed to Mexico through a port of entry in Brownsville, Texas.

       c. On or about February 10, 2011, RODRIGUEZ MARTINEZ was apprehended by the

United States Border Patrol after he entered the United States without admission, inspection, or

parole from an Immigration Official. RODRIGUEZ MARTINEZ was issued a Notice oflntent to

Reinstate a Prior Order of Removal on February 11, 2011. RODRIGUEZ MARTINEZ was

physically removed to Mexico through a port of entry in Del Rio, Texas on March 11, 2011.

       d. On or about April 4, 2011, RODRIGUEZ MARTINEZ was apprehended by the United

States Border Patrol after he entered the United States without admission, inspection, or parole

from an Immigration Official. RODRIGUEZ MARTINEZ was issued a Notice oflntent to
                                                 2
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Reinstate a Prior Order of Removal on April 7, 2011. RODRIGUEZ MARTINEZ was physically

removed to Mexico through a port of entry in Nogales, Arizona on April 7, 2011.

       e. The records contain no indication that RODRIGUEZ MARTINEZ had obtained

permission from the United States government to re-enter the country.



       WHEREFORE, Your affiant avers that there is probable cause to believe that Joel

RODRIGUEZ MARTINEZ, a citizen and alien of Mexico, was found in the United States on July

11, 2019 after having been removed therefrom to Mexico three times (October 21, 2010; March 11,

2011; and April 7, 2011) and not having obtained the express consent of the Secretary of Homeland

Security to reapply for admission to the United States in violation of Title 8, United States Code,

Sections 1326(a).




                                        John Hanlon
                                        Deportatio      1cer
                                        United States Immigration & Customs Enforcement


Subscribed and sworn to
before me this 15th day of July, 2019




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